                                                      December 8, 2017



BY ECF:

Honorable Valerie E. Caproni
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007

       Re: United States v. Percoco, et al., S2 16 Cr. 776 (VEC)

Dear Judge Caproni:

        We represent Peter Galbraith Kelly, Jr. in the above-referenced matter. We write on
behalf of Mr. Kelly and his co-defendants Joseph Percoco, Steven Aiello, and Joseph Gerardi.

        Pursuant to the Court’s order dated November 27, 2017 (Doc. No. 366) and consistent
with Your Honor’s practice in United States v. Silver, the defense is jointly submitting the
following proposals: (1) preliminary jury instructions, (2) final jury instructions, (3) a written
juror questionnaire, and (4) oral voir dire questions.


                                                      Respectfully submitted,


                                                      LANKLER SIFFERT & WOHL LLP

                                                      By:       /s/ Daniel M. Gitner
                                                      Daniel M. Gitner
                                                      Jun Xiang
                                                      Rachel S. Berkowitz
CC:

All Counsel (via ECF)
